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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

                                       §
     HANSHOW TECHNOLOGY CO.,
                                       §
     LTD. AND SHANGHAI HANSHI
                                       §
     INFORMATION TECHNOLOGY
                                       §
     CO., LTD                                Case No. 2:23-cv-00617-RWS-RSP
                                       §
                                       §
          Plaintiffs,                  §
                                       §
                                       §
     v.                                §
                                       §
                                       §
     SES-IMAGOTAG SA, SES-             §
     IMAGOTAG GMBH AND                 §
     CAPTANA GMBH                      §
                                       §
             Defendants.               §



 DEFENDANTS VUSIONGROUP GMBH f/k/a SES-IMAGOTAG GMBH and CAPTANA
     GMBH’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFFS’
           COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(2)
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        After three months of discovery—including two depositions, interrogatories, and

 thousands of pages of documents—Hanshow has not identified even a single allegedly infringing

 product sold by VusionGroup GmbH or Captana GmbH (“Moving Defendants”) in Texas or

 anywhere else in the United States. Instead, the evidence confirms that one entity is responsible

 for sale of the Accused Products in the United States,

                                                                                               . The

 evidence also confirms that the Moving Defendants’



        Confronted with these facts, Plaintiffs’ argument rests solely on the Moving Defendants’



         While this argument is also unsupported, more fatal is Plaintiffs’ complete failure to show

 that the alleged “knowledge” arises out of or relates to its own infringement allegations.

        The bottom line is that Hanshow could have named the proper parties in this case. But for

 reasons that Hanshow declines to explain in its Opposition, it elected to name two parties over

 whom the exercise of personal jurisdiction is incompatible with Due Process. As a result, the Court

 should grant the Motion to Dismiss and dismiss the Moving Defendants from the case.

 A.     Moving Defendants Do Not Have Minimum Contacts With Texas or The U.S.

        Plaintiffs offer no evidence that the Moving Defendants

                      Both deponents in this case,

                                          See Ex. 1 at 16:10-12 (Vittorio Depo.); Ex. 2 at 7:17-19

 (Rallu Depo.).

        Ex. 2 at 33:16-24; Ex. 1 at 39:18-40:2, 50:12-22. It is undisputed that

                                                            . See Dkt. No. 38-1 and 38-2 (Vittorio




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 Decls.); Plts. Ex. 3 at p. 11-13 (Amended Responses to Interrogatories).

                                                                            Ex. 1 at 25: 15-19.

        It is also undisputed that neither Moving Defendant makes, sells, advertises, or imports any

 products in the United States.

                     . Ex. 2 at 40:3-9; Ex. 1 at 48:8-12.

                                  Ex. 1 at 56:10-16.

                                                                    Id. at 49:23-50:1. The Moving

 Defendants



                                  Id. at 39:18-40:2.



                Id. at 50:12-22. This evidence is uncontroverted.

        Nevertheless, to confuse the entities and issues, Plaintiffs’ Opposition is littered with

 mischaracterizations and falsehoods. For example, Plaintiffs state that “Moving Defendants . . .

 cannot refute that [they]

                                   Dkt. No. 49 at p. 8 (Opposition). This is unquestionably false. As

 all the testimony demonstrates, neither Moving Defendant

                                           See Ex. 2 at 41:14-20; Ex. 1 at 39:18-40:2, 49:23-50:1,

 56:10-16. Plaintiffs present no contrary evidence. In a blatant attempt to confuse the issues,

 Plaintiffs reference “VusionGroup,” without specifying the entity. For example, the Opposition

 references



                                                        See Dat. No. 49 at pp. 1, 4, 7, 10, 13-15, 18.




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          In view of the uncontroverted facts, it is no surprise that Plaintiffs’ only argument is that

 the Moving Defendants, at best,

                                               . Dkt. No. 49 at p. 9. Even this evidence is based on

 mischaracterizations. Plaintiffs allege that

                                                                                                           Dkt. No.

 49 at p. 9. This statement is unsupported. Mr. Rallu testified that

                                                                                                 . See Ex. 2 at 9:15-

 10:1; 53:12-21. He did not testify that

 Plaintiffs also cite testimony that

                                                            See No. 49 at p. 10 (citing Pls.’ Ex. 1 at 63:4-10;

 Pls.’ Ex. 3 at 12-13). But the testimony does not mention any Captana™ products whatsoever



          Additionally, while Mr. Rallu testified that



                                                                                        Ex. 2 at 14:11-22. In fact,

                                                                      Id. at 19:20-22.

      The remainder of Plaintiffs’ cited testimony relates to Vusion US, its operations and its

 employees. Dkt. No. 49 at p. 9-10. Accordingly, there is no evidence that Moving Defendants

                                                                         Accordingly, Plaintiffs’ sole argument

 for jurisdiction is based on a “stream of commerce” theory of specific jurisdiction.1

 B.       The Court Lacks Personal Jurisdiction Under a Stream of Commerce Theory.

          Plaintiffs cannot establish specific jurisdiction over the Moving Defendants under a



 1 Plaintiffs do not argue general jurisdiction over the Moving Defendants. See Dkt. No. 49 p. 7, n. 3.




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 “stream of commerce” theory because the Moving Defendants did not purposefully direct the

 Accused Products to Texas, nor did they anticipate that the products would arrive in Texas. See

 Beverly Hills Fan Co. v. Royal Sovereign Corp., 21 F.3d 1558, 1566 (Fed. Cir. 1994) (internal

 citations omitted).

          Plaintiffs recognize that the Federal Circuit has not adopted a uniform test for the “stream

 of commerce” theory of personal jurisdiction. See Opposition, Dkt. No. 49 at p. 11-12. In one

 formulation, goods must be placed in the stream of commerce “with the expectation that they

 would be purchased in the forum state.” Celgard, LLC v. SK Innovation Co., 792 F.3d 1373, 1380

 (Fed. Cir. 2015). In another, “something more is required, i.e., the purposeful direction of activities

 toward the forum.” Id. (internal quotation marks omitted). Plaintiffs satisfy neither test.

          In Celgard, the Court found that the plaintiff could not meet even the less stringent standard

 because there was “no evidence establishing that the [accused products] actually enter the forum

 state.” Id. at 1382. The evidence showed only that the defendant sold its products to a third party

 who resold the products in the United States. Id. That is precisely the situation here.

          Notably, the majority of Plaintiffs’ allegations concern the Moving Defendants’

                                                                                          See Opposition, Dkt.

 No. 49 at pp. 13-14. Even Plaintiffs’ own citations confirm that Captana™ products2



                             See Plfs.’ Ex. 1 at 40:20-41:3

                              ; Plfs.’ Ex. 1 at 50:12-22                                         ; Plfs.’ Ex. 2 at

 19:20-22                                                                    . The evidence overwhelmingly

 shows that sales and importation of the Accused Products


 2 As discussed infra § C, the Captana ™ camera products are a critical and necessary component of Plaintiffs’

 infringement allegations.


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                                       . Id. at 40:20-41:20, 50:12-22. In fact, VusionGroup GmbH

                                                       See Ex. 1 at 49:23-50:1. Plaintiffs present no

 contrary evidence, and none exists.

        Plaintiffs also argue that Accused Products

 but offers no evidence that the Moving Defendants had any knowledge of, much less role in,

                                        In fact, there is no testimony identifying that

                                                                                  See Ex. 1 at 74:9-

 75-7                                                         ; Ex. 2 at 40:15-41:13

                                                                     .

        Plaintiffs rely exclusively on Seasons USA, Inc. v. SCS Direct, Inc., to support their

 argument that mere knowledge is sufficient to impose jurisdiction on the Moving Defendants. Civil

 Action No. 2:22-CV-00409-JRG-RSP, 2023 WL 5344342, at *2 (E.D. Tex. June 9, 2023). Seasons

 USA is easily distinguishable. Seasons USA was a copyright infringement case involving a

 defendant that placed its products for direct sale to end customers on its own Amazon webstore

 page. Id. Here the evidence conclusively establishes that neither Moving Defendant

                                                                                          nor do they

 have anything analogous to a “webstore”.

        Moreover, Seasons USA relies on the Fifth Circuit holding in Luv N' care, Ltd. v. Insta-

 Mix, Inc., 438 F.3d 465, 470 (5th Cir. 2006), which specifically recognizes that “a unilateral

 decision to take chattel [] to a distant State does not confer jurisdiction.” Id. (citing World Wide

 Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)). Essential to the holding was evidence

 of 65 invoices that showed that the final destination of the products was Texas. Id. There is no

 such evidence in this case, and moreover, there is no evidence of




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                               .

                                                                                          . See Exs.

 3-4                                                                          The critical evidence

 supporting the decision in Luv N’ Care is absent here.

        This case is more analogous to the recent holding in Cellport Sys., Inc. v. Harman Int'l

 Indus. Inc., No. 4:22-CV-808-SDJ, 2024 WL 1337338, at *5 (E.D. Tex. Mar. 28, 2024). In a patent

 case, Cellport found that the court lacked jurisdiction for two reasons. First, Plaintiff failed to

 establish that any accused products were sold in Texas, and thus, failed to show that defendants

 contacts with Texas arose or related to acts of infringement. Id. at *5.                       The

 evidence shows that                                                 and Plaintiffs have no contrary

 evidence. See Ex. 2 at 19:20-22.

        Second, Cellport found that the Court did not have personal jurisdiction under a stream of

 commerce theory because the evidence did not support imputing the contacts of a corporate parent

 onto its defendant subsidiaries when there was no showing of an alter-ego relationship between

 the two companies. 2024 WL 1337338, at *5 (quoting Diece-Lisa Indus., Inc. v. Disney Enters.,

 Inc., 943 F.3d 239, 251 (5th Cir. 2019) (“generally the proper exercise of personal jurisdiction

 over a nonresident corporation may not be based solely upon the contacts with the forum state of

 another corporate entity with which the defendant may be affiliated ”) (internal quotation marks

 omitted)). Here, as in Cellport, the evidence shows that the Moving Defendants

                                                                                      See id. As in

 Cellport, no evidence here supports a “stream of commerce” theory over the Moving Defendants.

 C.     Plaintiffs Entirely Fail to Show That Its Alleged Contacts Arise Out of Or Relate to
        Its Infringement Allegations.

        As Plaintiffs recognize, specific jurisdiction requires that a defendants’ relevant contacts



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  with a forum must “arise out of or relate to” plaintiffs’ claims of infringement. Dkt. No. 49 at 7.

  Plaintiffs’ Opposition does not discuss this essential second and Plaintiffs have not shown that it

  is met by either Moving Defendant.

         Plaintiffs insist jurisdictional allegations on two combined categories of products, the

  combination of which Plaintiffs refer to in its complaint as the “Vusion digital shelf platform.” See

  Dkt. No. 49 at p. 3, 7 (referencing Complaint).

                                   Id. Separately,

                                           . Id. at p. 4. There is no dispute that the Vusion ESLs do

  not contain cameras. Plaintiffs present no evidence that the Moving Defendants interact to create

  the “Accused Products,” or that either Moving Defendant is involved with the other’s operations.

  Plaintiffs have not shown that either Moving Defendant

                                        . See Ex. 2 at 41:14-20; Ex. 1 at 23:12-16, 80:6-25, 98:15-18.

         Plaintiffs’ Complaint alleges infringement of U.S. Patents 11,087,272 (“’272 Patent”) and

  10,701,321 (“’321 Patent”). The claims of the ’272 Patent, as described in representative claim 1

  quoted in the Complaint, require among other things “capturing one or more images of a portion

  of a shelf with a camera.” See Dkt. No. 1 at ¶ 19. The claims of the ’321 Patent, as described in

  representative claim 1 quoted in the Complaint, require among other things “one or more

  surveillance cameras.” While all the asserted claims are directed to camera or video systems,

  despite this, Plaintiffs staunchly allege in their Opposition that Vusion ESLs also comprise part of

  the accused systems, methods, and apparatuses.

         Plaintiffs’ stream of commerce theory rests on each of the Moving Defendants separately

  introducing their respective products into the stream of commerce with knowledge that they will

  be sold in the United States. But Plaintiffs do not present evidence that either Moving Defendant




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  introduces the combined “Accused Products” into the stream of commerce, or that either combines

  them. In fact, Plaintiffs have not identified any instance where the Accused Products are combined

  (and thus the alleged infringement occurs) by anyone either in Texas or the United States.

          Even if each moving Defendant introduces some product into the stream of commerce

  separately, in neither case is it the product that Plaintiffs claim to allegedly infringe the Asserted

  Patents. Thus, Plaintiffs do not show, or even substantively argue, that its “stream of commerce”

  contacts arise out of or relate to Plaintiffs’ self-described infringement claims. Plaintiffs’ failure to

  discuss the critical second prong of the specific jurisdiction analysis is fatal to its arguments.

  D.      Personal Jurisdiction Over the Moving Defendants Would Offend Traditional
          Notions of Fair Play and Substantial Justice.

          Plaintiffs cannot deny that hailing the Moving Defendants into a Texas court would offend

  traditional notions of fair play and substantial justice. Plaintiffs’ entire argument stems from the

  Moving Defendants’ mere awareness that other entities are conducting sales in Texas. But it

  conveniently ignores the facts. Plaintiffs chose to name additional foreign defendants in a clear

  case of venue manipulation. It is undisputed that the Moving Defendants

          All the Moving Defendants’

           Plaintiffs have not identified one instance of actual alleged infringement, according to its

  own contentions, that exists in Texas or the United States. Lastly, this case will proceed with

  Vusion France as a defendant regardless of whether the Moving Defendants are dismissed.

          These combined facts make this an atypical case where Moving Defendants’ alleged

  contacts with the United States, much less Texas, are unrelated to the infringement alleged. It is

  undisputed that the Moving Defendants’ witnesses would be required to travel thousands of miles

  to a forum that they are unfamiliar. Plaintiffs allege that Texas has an interest in adjudicating the




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  matter and that they have an interest in securing relief. But Plaintiffs omit that, even without the

  Moving Defendants, this relief will be available to them from Vusion France if this case proceeds.

          Plaintiffs cannot articulate a credible reason that the Moving Defendants are necessary

  parties in this case. Plaintiffs merely allege that the Moving Defendants are essential to avoid

  “unnecessary third-party discovery fights.” However, they present no reason why these “discovery

  fights” are likely to happen, or why Plaintiffs could not obtain relevant discovery from Vusion

  France or by subpoena. In fact, had Plaintiffs wanted to name the most relevant party, Vusion US,

  it could have. If Plaintiffs’ arguments about discovery barriers had any merit, which they do not,

  they intentionally created more barriers by not naming the right party.

  E.      Personal Jurisdiction Cannot Be Established Under Fed. R. Civ. P. 4(k)(2).

          For the same reasons Plaintiffs cannot establish any relevant contacts in Texas, they fail to

  establish minimum contacts with the United States that arise out of or relate to their claims of

  infringement. Again, Plaintiffs’ alleged contacts with the United States rest solely on the Moving

  Defendants’



          Moreover, Plaintiffs have failed to show that any isolated instances of Moving Defendants’

                                             arise out of or relate to their infringement allegations.

  Plaintiffs identify an instance of a

  Opposition, Dkt. No. 49 at p. 18. However, Mr. Rallu stated

                                                         , and Plaintiffs have no other evidence that

                   related to anything tied to its infringement allegations. Ex. 2 at 10:23-12:8.

  Furthermore, the contact is irrelevant to jurisdiction because

                                                           See id.; Asarco, Inc. v. Glenara, Ltd., 912




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  F.2d 784, 787 n. 1 (5th Cir.1990) (“the relevant time for determining jurisdiction is the filing of

  the complaint.”); see also Glazier Grp., Inc. v. Mandalay Corp., Civ. Action No. H–06–2752, 2007

  WL 2021762, at *9 (S.D. Tex. July 11, 2007) (“In the Fifth Circuit, post-complaint activities

  cannot create specific personal jurisdiction that was lacking when the lawsuit was filed.”).

  Otherwise, Plaintiffs’ allegedly relevant contacts rely

           , and not either of the Moving Defendants. Thus, the Moving Defendants do not have

  any relevant contacts with the United States, and the Court does not have personal jurisdiction

  over the Moving Defendants under F.R.C.P. 4(k)(2).

  F.     VusionGroup GmbH Did Not Waive Personal Jurisdiction.

         Plaintiffs cite no law supporting its position that VusionGroup GmbH has waived its

  challenge to personal jurisdiction. Instead, Plaintiffs merely argue that an overlap in parties and

  “accused products” renders this case and Hanshow I “related.” The cases are not related. Plaintiffs

  do not deny that Hanshow I involves different patents, technology, and products. The Captana™

  camera products, which as discussed above, are a central part of Plaintiffs’ infringement

  allegations, are not accused products in Hanshow I and Captana GmbH is not a defendant in

  Hanshow I. Nevertheless, even if the cases were remotely similar, which they are not, Plaintiff

  fails to provide any support for its assertion that jurisdiction would be waived.

                                           CONCLUSION
           For the foregoing reasons, the Moving Defendants respectfully request that the Court

  grant their Motion and dismiss them for lack of personal jurisdiction.




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      Dated: August 6, 2024                 Respectfully submitted,

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              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

         Pursuant to Local Rule CV-5(a)(7)(B), the undersigned certifies that the foregoing
  document and attachments are permitted to be filed under seal pursuant to the Protective Order
  (Dkt. No. 41) governing this case.

                                              /s/ Matthew C. Acosta
                                              MATTHEW C. A COSTA


                                 CERTIFICATE OF SERVICE

          The undersigned counsel for Defendants does hereby certify that this pleading was served
  on all counsel of record on August 6, 2024 via electronic means.

                                              /s/ Matthew C. Acosta
                                              MATTHEW C. A COSTA




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